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                        EXHIBIT 08
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                                                                         E)tl 1181+ Bf


 1                      THE UNITED STATES DISTRICT COURT

 2                            FOR THE DISTRICT OF OREGON

 3                                  MEDFORD DIVISION

 4

 5   ARNAUD PARIS,                            )
                                              )
 6                   Petitioner,              )   Case No. l:22-cv-01593-MC
                                              )
 7                      v.                    )
                                              )   Decembers, 2022
 8   HEIDI MARIE BROWN,                       )
                                              )
 9                   Respondent.              )
     _______________                          )
10

11
12

13                                      COURT TRIAL

14                   EXCERPT OF TRANSCRIPT OF PROCEEDINGS

15                 BEFORE THE HONORABLE MICHAEL J. MCSHANE

16                    UNITED STATES DISTRICT COURT JUDGE

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1                                    APPEARANCES

 2   FOR THE PETITIONER:
                                 DAVID B. STARKS
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                                 Seattle, WA 98101
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 6   FOR THE RESPONDENT:
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                                 Lake Oswego, OR 97035-8617
 9

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14
15   COURT REPORTER:          Kendra A. Steppler, RPR, CRR
                              United States District Courthouse
16                            District of Oregon
                              405 E. 8th Avenue, Room 2100
17                            Eugene, OR 97401

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19                                      *      *    *
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 1               (Excerpt of proceedings began at 9:35 AM.)

 2

 3               THE COURT:     All right.    Let's hear from Petitioner.

 4               MR. STARKS:     Certainly, Your Honor.         As you're

 5   looking through the exhibit, I would first say that this

 6   isn't -- I mean, this isn't a decision tree email.                 I mean, the

 7   second page -- this is, I think, page 163, as we've designated

 8   Petitioner's exhibits.       You'll see at the top, on the third

 9   line down      or fourth line down -- indeed, Heidi's plan is to

10   remain in Oregon at the end of the upcoming school year, and to

11   tell Arnaud, once Oregon courts have acquired jurisdiction

12   within six months -- by January 2023              that she does not plan

13   to move back to France with the girls.            If he is unhappy with

14   that change, he'll have to file with Oregon courts.

15        So, I mean, this isn't a decision tree email.                 This is an

16   email saying here's what the plan is now that we've secured the

17   July agreement.

18        As for the overall admissibility of the document, Your

19   Honor, you know, we spent the time, so I provided the briefing,

20   on the legal issues and on the attorney-client privilege issue.

21   I think I could wrap the attorney-client privilege issue and

22   the fraud exception into the overall view of the Hague

23   Convention.    Because this Court has sort of a unique place in

24   the world when it hears these sorts of cases.

25        And Hague Convention Article 30 makes it very clear that


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1    you sit in many ways in equity and not just in law.                 You're

2    here to do fairness.       You're here to figure out what's right

 3   and to do what's right as well as you can.

4         And so when you look at Article 30, any application

 5   submitted to the Central Authorities or directly to the

 6   Judicial or Administrative Authorities of the contracting

 7   state, in accordance with the terms of the Convention, together

 8   with documents and any other information appended thereto or

 9   provided by Central Authority, shall be admissible in the

10   courts or Administrative Authorities of the contracting state.

11        This is designed so that the Petitioner can bring forward

12   the evidence necessary for the Court to make some fundamental

13   decisions.    What is the habitual residence of the child?                Are

14   there any defenses to the return?          And so I think we get

15   it's easy, because we're lawyers, and we're used to the Kabuki

16   dance of what we usually do in these cases.               Right?    But this

17   isn't those usual cases.        This is those cases where you're

18   vested with a lot of authority to just do what's right.

19        And we have the information.          We've seen the email.          In

20   many ways, it's the kabuki dance of pretending we haven't seen

21   it anymore.     If we pretend we haven't seen it anymore -- the

22   facts are the facts -- right -- however they've developed.

23   Article 30 certainly says that this admissible because it was

24   appended to my petition.        And my petition was filed in complete

25   conformity with the Convention, and, therefore, it is


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 1      admissible.           Thank you, Your Honor.
 2                        THE COURT:       Okay.      I'm going to allow it in.                  I don't
 3      think I need to hear evidence of forensic investigators.                                       I
 4      don't think there's -- I don't have any huge doubt that, in
 5      fact, Ms. Brown did not consent to Mr. Paris going through her
 6      belongings.
 7               But it does appear to be more than just a general option
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14               If this Court actually does have broad equity, as
15      Petitioner suggests, under the Hague Act, I do think under that
16      kind of broad equity, in terms of what was the intent of the
17      parties, and in a matter which intent is so hard to get at,
18      this is a relevant document that does assist the Court.

19               Again, _if the Petitioner -- or, excuse me -- the
20      Respondent -- I'll just probably say "mother" and "father."
21       It's easier.           If the mother in this case testifies consistently
22       that this was her thought, there's no reason to enter it.                                         If
23       she testifies inconsistently, I think it would come in under
24       the crime fraud exception.                  so that's where we are with that.
25               Okay.       Anything else as a preliminary matter?


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3                     Arnaud Paris v. Heidi Marie Brown
4                                1:22-cv-01593-MC
 5                             Court Trial Excerpt
 6                               Decembers, 2022
 7

 B        I certify, by signing below, that the foregoing is a true
 9   and correct transcript of the record, taken by stenographic
10   means, of the proceedings in the above-entitled cause.                   A
11   transcript without an original signature, conformed signature,
12   or digitally signed signature is not certified.
13
14   /s/Kendra A. StepPler, RPR,      CRR
     Official Court Reporter                 Signature Date: 1/10/2023
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